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                 EXHIBIT B-049
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                                                                                                   FILED IN OFFICE

                               IN THE SUPERIOR COURT OF FULTON COUNTY                                         AUG 03    2022
                                           STATE OF GEORGIA
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                                                                             ‘

                                                                                                  DEPUTY CLERK SUPERIOR COURT
                                                                                                       FULTON COUNTY, GA

                                                               )         .




    1N RE SPECIAL PURPOSE GRAND JURY                           ) Case No. 2022-EX-000024
                                                                    .


                                                               )
                                                               )

        RESPONSE IN OPPOSITION TO MOTION FOR LEAVE TO FILE UNDER-SEAL
                PURSUANT TO UNIFORM SUPERIOR COURT RULE 21
                                                                                                         I
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            The Atlanta J ouma-l-Cohstitution respectfully ﬁles this response in opposition to. the

    State’s Motion For Leave to File Under Seal Pursuant to Uniform Superior Court Rule 21 (the

    “Rule 21              .1
               Motion”
            On May 2,2022, this Court empaneled a special purpose grand jury to investigate

    possible illegal attempts to interfere with or inﬂuence the outcome of the 2020 presidential

               in Georgia. This grand jury is a-matter of profound    interest. Indeed, it is difﬁcult
    election
                                                               public
    to imagine a special purpOse grandJury investigation of more public importance than this one.


            While the State’ s presentation of testimony and evidence to the Special purpose grand

    jury itself1s not          to the public, ancillary proceedings1n the
                                                                                 Superior Court1n which
                                                                                                                 the State
I                       open
    or other litigants present legalIssues relating to the grandJury remain                     to the
                                                                                                             presumptlon
                                                                                      subject                              I




    of openness                 1n
                  embodied Uniform          Superior Court Rule 21. The State s Rule 21 Motion to seal
                                                                                                                           I




    an unspecified ﬁling,‘ ‘any                             related to
                                                                         the ﬁling”
                                                                                      and‘ any subsequent
                                     subsequent pleadings

    hearing related to the ﬁling” falls well-short of the standard enunciated1n Rule 21 . Infact,
                                                                                                                    I




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       The right of The Atlanta Joumal-Constitution to intervene inglegal proceedings where, as here,
     their newsgatheringrights could be burdened by court orders is well-established. See, e. g.,
      WXIA-TV v. State, 303' Ga. 428, 433 (2018) (ﬁnding media has standing to intervene” and
    ’chal-lenge gag order entered1n criminal prOceeding); R. W. Page Corp. v Lumpldn, 249 Ga. 576
     (1982) (recognizing right of the press to challenge order excluding the public and-press from
     criminal proceedings- and instituting procedure where the news media must be provided notice
     and an opportunity to be heard prior to consideration of motions seeking restrictions on access to
     court proceedings).                .
                                         V
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        despite the sweeping nature of the relief it seeks, the Rule 21 Motion fails to identify any

        argument, evidence or legal authority to support the relief it seeks. Instead, in a single

        paragraph, the Motion merely recounts the burden imposed by Rule 21 and asserts it has been

        met in a conclusory fashion. See Rule 21 Motion at ﬁl 1 (“The State submits that the ﬁling

        contains sensitive information, the public disclosure of which would cause certain harm to the

        privacy of persons in interest that clearly outweighs the public’s interest in disclosure”).

                  Paying nothing more than “lip service” to the closure standard in this way is exactly what

        the Georgia Supreme Court has rejected time and time again. Under any circumstances, but

        especially if the State’s planned “ﬁling” concerns public ofﬁcials, public persons, or government

        employees, the-contention. that privacy interests prevail in this context-is meritless. The State’s

        MotiOn should be denied.


                                                       ARGUMENT          I




        I.        PROCEEDINGS ANCILLARY TO THE SPECIAL PURPOSE GRAND JURY
                  ARE MATTERS .OF SUBSTANTIAL AND LEGITIMATE PUBLIC INTEREST
                  THAT SHOULD BE HEARD IN PUBLIC.
              '




                                           branch of                in an open and            manner is
                  Operating the judicial               government                    public
        fundamental to our system of justiceas a- matter of                    and
.
                                                                both federal         state constitutional 1aw..
    I




        TheUn-ited States Supreme Court has repeatedly recognized that public access to the judicial

                  is not only deeply ingrained in the history of our system,         is
        system                                                                 but        an"‘indispensable
                                                                                                          I




        attribute” of our judicial system protected by the First Amendment to the United States               g




        Constitution. Richmond Newspapers, Inc. v. Virginia, .448 U. S. 555, 573 (1980). As the Court

        recognized
                      1n Richmond                 public scrutiny of the court system is essential to. its
                                    Newspapers,
        institutional well-being for numerous reasons, including because it is vital to obtaining the
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        public’s trust. “People in an open society do not demand infallibility ﬁom their institﬁtions, but

        it is difﬁcult for them to accept what they are prohibited ﬁ'om obServing.” 448 U.S. at 572.

               In addition to the protections afforded by the First Amendment, the Georgia Supreme

        Court has held that the Georgia Constitution independently requires our judicial system to

        operate in an open and public manner.

               This court has sought to open the doors of Georgia’s courtrooms to the public and
               to attract public interest in» all courtroom proceedings because it is believed that
               open courtrooms are a sine qua non of- an effective and'respected judicialsystem
               which, in tUrn, is one of the principal cornerstones of a' free society.

        R. W. Page Corp. v. Lumpkin, 249 Ga 576 (1982). Indeed, Page                       that Georgia law is
                                                                            make-s clear

        “more protective of the concept of open courtrooms than federal law.” 249 Ga; at 578.

               Similarly, the Georgia appellate courts have recognized that the openness of the Superior

        Courts in supervising grand juries is               to our judicial system. In commenting on the
                                                important
                                                                                                          '




        importance of the indictment being returned in open court, the Court: of-Appeals explained:

               The judge is the court for the reception of indictments only when he is presiding
               in open court. There must be a judge presiding, the clerk must be present, and the
               place of the reception of the indictment must be one Awhe're the court is being held
               'open to the public. Cadle v. State. 101 Ga. App. 175,180 113 S. E. 2d
                                                                                         180 (1960).
                “Itis a fundamental part of our judicial system that the general public be
               permitted to Witness court proceedings sufficiently to guarantee that there may
               never be practiced1n this State secret or Star-chamber court prOceedings, the
                deliberations of the juries alone excepted.” Zitgar v. State, 194 Ga. 285, 289—290,
                21 S.E.2d 647 (1942). “It is not encugh to know that in this State there is hardly a
                chance that bogus indictments for personal spite will be. ﬁled in ourcourts. The
               preservation of. the honor and-purity of the courts, the conﬁdence and respect'of
               the         1n those courts, and the good name of the            must not be left to
                                                                       citizens
                    public.” Zugar, supra at 291.
               chance.                                                      -




‘
    .
        State v. Byrd, 197 Ga. App. 66.1 (1990). See also Zugar v. State, 194 Ga. 285, 289-290 (1942)

        (requiring openness in return of indictment by grand jury: “public ofﬁcials are made conscious of

        the duty to faithfully perform ofﬁcial acts when they are acting in the presence of the general
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        public; and this fact causes the public to have conﬁdence in the ofﬁcials, and hence conﬁdence

        in the governmental departments where such ofﬁcials serve”).

                Respondent acknowledges that “the preservation of the secrecy of grand jury proceedings

        is    a well-recognized principle in Georgia.” In re Hall County Grand Jury Proceedings, 175


        Ga.App. 349(3) (1985). However, the Superior Court’s supervision of ancillary legal matters

        outside the grand jury room remains subject to Rule 21. See U.S.C.R. 21(a) (“All court records

        are public and are to be available for public inspection unless public access is limited by law or


        by the procedure set forth below.”). For eXample, ﬁlings about the scope and scale of various

        legislative privileges, the attorney-client privilege and the investigatory powers of the grand jury

        are important legal matters that should be argued in an open courtroom because they do not
                                                                                                                       I




        disclose the speciﬁc testimony and evidence being presented to the grand jury. The presumption

    -
        of openness is, of course, especially strong with respect to publicAOfﬁcials, public persons, and      _.




        government employees who have chosen a career path that invites public serutiny. See,_e. g. , Cox
                                                                                                                       I




        Communications v. Lowe, 173 Ga. App. 8lZ, 813- (1985) (“Where an incident is a matter. of

        public interest, or the subject matter of a public investigation, a publication-in connection.    .




.       therewith can be. a violation of no one's legal right of privacy_.’-l) (internal citations and'quotation

        marks omitted); Thibadeau v. Crane, 131 "Ga. App. 591-, 611 (1974)'(noting public scrutiny of a            .




        public ofﬁcial “is [what]. President Truman referredto in saying ‘if you can’t stand the heat get      _




        out of the kitchen’”).
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         II.        THE STATE’S MOTION DOES NOT MEET THE DEMANDING STANDARD
                    NECESSARY TO SEAL COURT RECORDS OR CLOSE HEARINGS.»
                    The State’s Motion does not meet the burden necessary to seal records or close hearings.

         In order to properly seal records in Georgia, “‘the harm otherwise resulting to the privacy of a

         person in interest [must] clearly outweigh[ ] the public interest” Atlanta Journal and Atlanta

         Constitution v. Long, 258 Ga. 410, 414 (1988) (quoting U.S.C.R. 21.2). In attempting to meet

         this burden the party seeking the sealing must do more than simply recount the standard. The

         party must present evidence sufﬁcient to support speciﬁc ﬁndings of fact demonStrating how

         privacy interests raise-d by the particular facts of the case clearly outweigh the public’s right of

         access. Id. The burden is intended to require openness in all cases exceptthose involving a:
I




         “clear necessity.” Long, 258 Ga. at 413. See also In re Atlanta Journal-Constitution, 271 Ga.

         436, 438 (1999') (‘-‘[I]t is not sufﬁcient for the trial court to forego making ﬁndings of fact and

         simply state that the public’s interest in access t0 court records is clearly outweighed by pctential

         harm to the parties’ privacy” .2
                -                                 I
                    I




                                                             CONCLUSION

                        For. these reasons, The          J
                                                  Atlanta ournal—Constitutionrespectfully requests
                                                                                                     that the State’s

    '.   Motion to Seal be denied.




         2
           In the event the State contends it cannot disclose the grounds for itsmotion without harming
         the privacy interests it is trying toprotect, the Georgia Supreme Court has previously addressed
         that issue. It has explained any hearing on a sealing motion “shall be open, reported and           _




         transcribed,” but'it has also acknowledged short “[i]n camera Conferences may be appropriate
         means to exclude certain sensitiVe' details 'ﬁom general exposure during the hearing.” Page, 249
         Ga. at 580 n. 10 (citing Globe Newspaper Co. v. Superior Court, 457 U.S. 596, n. 25 (1982)).
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   Dated this the 3rd day of August, 2022

                                       Respectﬁllly submitted,

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                                                                 '




                                                                     J
                                       Attorneys for The Atlanta ournal—Constitution
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                               CERTIFICATE OF SERVICE
       This is to certify that the undersigned has this day served opposing counsel
 with a true and correct copy of the above RESPONSE DI OPPOSITION TO
 MOTION FOR LEAVE TO FILE UNDER SEAL PURSUANT TO UNIFORM
 SUPERIOR COURT RULE 21 via Electronic and United States Mail upon:

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                DATED this the 3rd day of August, 2022
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